       Case 3:21-cv-00187-ECM-KFP Document 9 Filed 06/15/21 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                                                                                    „EGEWED:
                            FOR THE MIDDLE DISTRICT OF ALABAMA
                                     EASSTERN.DIVISION.
                                                                                2011 JUN..15 - A
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Umar Clark
                                                              3:21-cv-187
Plaintiff,

                                                       Civil Action No. 3:20- cv- 825- ECM
CAPITAL ONE AUTO FINANCE,

Defendant




                                        Motion To Seal.

Honorable Judge Emily C Marks,

Ref:

Civil Action   No. 3:20- cv- 825- ECM- Clark V CAPITAL ONE AUTO FINANCE.
Civil Action   No. 3:21-cv-00187- Clark V Carvana et al.
Civil Action   No. 3:21-cv-00163- Clark V Verizon
Civil Action   No. 3:20-cv-01065- Clark V Discover

Your honor even though these cases have been dismissed I am humbly,requesting that my

complaints for these cases be sealed. I fear for rny safety and the privacy of my family. People

have been logging into Pacer, pulling up my complaints and finding my location information. I

have been called, text and even sent mail from individuals who told me they got my
      Case 3:21-cv-00187-ECM-KFP Document 9 Filed 06/15/21 Page 2 of 3




information from my complaints. Your honor please for my the safety of me and my family

please seal these complaints from the public. This has caused me severe anxiety and emotional

distress.
            Case 3:21-cv-00187-ECM-KFP Document 9 Filed 06/15/21 Page 3 of 3
  urnar clark
  200 redland rd
  shorter, AL 36075

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